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        EXHIBIT H
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 1                       UNITED STATES DISTRICT COURT
 2               FOR THE EASTERN DISTRICT OF KENTUCKY
 3                    NORTHERN DISTRICT AT COVINGTON
 4                                         * * *
 5
 6     JOHN ANTONY,
 7                         Plaintiff,
 8                 vs.                   CIVIL ACTION NO.
                                         2:18-cv-00205-DLB-CJS
 9     BUENA VISTA BOOKS, INC.,
10                         Defendant.
                                           * * *
11
12
13
14
15                         Videotaped Deposition of
16     JOHN ANTONY, plaintiff herein, called by the
17     defendant for examination pursuant to the
18     Federal Rules of Civil Procedure, taken before
19     me, Patti Stachler, RMR, CRR, a Notary Public
20     within and for the State of Ohio, at the
21     Offices of Graydon, Head & Ritchey, LLP, 312
22     Walnut Street, Suite 1800, Cincinnati, Ohio, on
23     September 13, 2022, at 10:18 a.m.
24                                         * * *
25

                                                                     Page 1

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 1                        MS. COX:        It's 12:40.           I believe
 2     that's around when you wanted to break for lunch.
 3                        MS. COLE:         Good time.
 4                        MS. COX:        Yep.
 5                        THE VIDEOGRAPHER:                 We're off the
 6     record.
 7                        (Recess taken from 12:40 to 1:40.)
 8                        THE VIDEOGRAPHER:                 We're on the
 9     record.
10     BY MS. COX:
11                 Q.     Okay.      Mr. Antony, when did you
12     begin working on the concept for Zodiac Kids?
13                 A.     Probably about the year 2000.
14                 Q.     And in the year 2000, what was
15     your concept for Zodiac Kids?
16                 A.     What was my concept?                 I developed
17     an idea for a superhero team of 12 superpowers
18     by kids that received the superpowers from the
19     Chinese Zodiac.
20                 Q.     Did you begin working on the
21     screenplay first or the character bios?
22                 A.     Neither.
23                 Q.     What did you begin working on
24     first?
25                 A.     Notes.

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 1     China, I take it, what did that entail?
 2                 A.      So I was doing interviews of
 3     companies that were doing business in China and
 4     I would call up the person that was involved or
 5     in charge of doing business in China, and I
 6     would interview them and talk about where the
 7     market was going and the problems that American
 8     companies had doing business in China.
 9                 Q.      And how did you draw upon your
10     experience in doing that project for
11     Mr. Oestreicher in developing the idea for
12     Zodiac Kids?
13                 A.      Well, it gave me some background.
14     Then I was in martial arts for years and years
15     and years.        And I followed Bruce Lee a lot, and
16     the story behind Bruce Lee is very interesting
17     because, as a Chinese, he was -- there was a
18     lot of prejudice against him.                        And the story is
19     that he created the show Kung Fu and they
20     wouldn't allow him to star in it.                        They had
21     David Carradine, who is a Caucasian.                        And they
22     said American audiences will not look at a
23     Chinese actor.
24                         And so I knew a lot of comic book
25     companies.        DC and Marvel were basically very,

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 1     concentration.          Yeah.       So illustrations, the
 2     emails, and he was talking about the creative
 3     marketing ideas for Jackie, so different names
 4     that she could go under and how to start her
 5     career and all those kind of things.
 6                 Q.      At the point that you were
 7     interacting with Mr. Tait for the
 8     illustrations, had you prepared the Zodiac Kids
 9     character bios yet?
10                 A.      Yeah.
11                 Q.      Did you provide a copy of the
12     character bios to Mr. Tait?
13                 A.      Don't recall.
14                 Q.      How many versions of Zodiac Kids
15     did you end up writing?
16                 A.      So I would say one with tweaks.                    I
17     would say they're materially the same.                        Okay?
18     I would say they're materially the same.                         And
19     you could probably look at that if you see the
20     first version, handwritten, that I produced all
21     the way to what we called the final copy with
22     just -- you know, there's some changes, but
23     most of them would be formatting, most of them
24     would be grammatical.               You know, Justin made a
25     lot of grammatical mistakes.

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 1                 Q.      So you're saying the graphic novel
 2     that you sent to Mr. Tait is the same version
 3     as the final version of the screenplay?
 4                 A.      My recollect --
 5                         MS. COLE:         Objection as to
 6     characterization.
 7                         Go ahead.
 8                         THE WITNESS:           Sorry.
 9                 A.      My recollection is that they are
10     very similar, without the illustrations.
11     BY MS. COX:
12                 Q.      When did you end up with your
13     final version of the Zodiac Kids screenplay?
14                 A.      I apologize.           What?
15                 Q.      When did you have your final
16     version of the Zodiac Kids screenplay?
17                 A.      My final version?                Okay.   So
18     sometime after I met with Disney, there were a
19     couple of tweaks, but very few.
20                 Q.      Do you have an idea about a year?
21                 A.      It might have been -- because to
22     be honest, I was expecting somebody to get back
23     to me and I wanted to be prepared.                       I also
24     developed a treatment afterwards because I
25     wanted to be ready because, you know, I thought

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 1     for sure I'd be selling stuff.
 2                 Q.     When you provided the character
 3     bios to Mr. Tait, were they handwritten or
 4     typewritten?
 5                 A.     They would have been handwritten.
 6                 Q.     At what point did you have a
 7     typewritten version of the character bios?
 8                 A.     Before I went out and met with
 9     Disney.
10                 Q.     Okay.      Can you give me a year,
11     please?
12                 A.     Probably 2005.
13                 Q.     At what point did you have a
14     typewritten version of the screenplay?
15                 A.     Probably 2004, 2005.
16                        MS. COX:        Handing the court reporter
17     a document to be marked as Exhibit 11.
18                        (Exhibit 11 was marked for
19                        identification.)
20     BY MS. COX:
21                 Q.     So Exhibit 11 is a document that
22     you produced beginning ANT319 through 331.                        The
23     first couple of pages you can see it's
24     typewritten.         It says Character Bios.
25                 A.     Uh-huh.

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 1                 Q.      But then there's handwriting in
 2     whatever, blue pen on top of it.
 3                         Do you see that?
 4                 A.      I do.
 5                 Q.      And the handwriting on top of it
 6     adds ages to each of these characters.
 7                         Do you see that?
 8                 A.      Right, I do.
 9                 Q.      What version -- what like year
10     would these first two pages come from where you
11     have a typewritten -- partially typewritten
12     version of the character bios, but then you've
13     just handwritten the ages?
14                 A.      So -- sorry.           So, again,
15     everything's kind of a work in progress.                         But I
16     had handwritten first.
17                 Q.      I understand.            I'm asking, if we
18     look at the two pages that are ANT319 and
19     ANT320 --
20                 A.      Okay.
21                 Q.      -- the typewritten portion of this
22     does not have any ages written down.                       The ages
23     are written down in handwriting with pen on
24     top?
25                 A.      Uh-huh.

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 1                 Q.      What year would these two pages
 2     have been created?
 3                 A.      What year.          I mean, probably 2004,
 4     2005 with the screenplays.                   So my Zyborg
 5     screenplay was contemporaneous with this, so
 6     that's -- that was all being developed at the
 7     same time.        So that's why I know it's 2004,
 8     2005.
 9                 Q.      What is your Zyborg screenplay?
10                 A.      So it's another screenplay that I
11     wrote.      It's similar to a Star Wars type of
12     screenplay.
13                 Q.      Okay.      Has that -- have you sold
14     the Zyborg screenplay?
15                 A.      No.     But I took it with me out to
16     LA.
17                 Q.      Okay.      So why does your reference
18     to the Zyborg screenplay help you pin down when
19     you handwrote the ages onto this character bio
20     sheet?
21                 A.      Because I know that was -- I've
22     got, you know, a date -- a dated screenplay
23     that says 2004 on that one.                    And they were
24     contemporaneous.
25                 Q.      And so if this was 2004, 2005, did

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 1     you ever revert back after -- like the
 2     character bios were typed up, did you ever
 3     revert back to a handwritten version?
 4                  A.     If they -- after they were typed
 5     up?
 6                  Q.     How about this?               To the extent
 7     that there is a version of the character bios
 8     that's entirely handwritten --
 9                  A.     Correct.
10                  Q.     -- because they're entirely
11     handwritten, would that mean that they were
12     before any typewritten version of the character
13     bios?
14                  A.     Correct.         I always handwrote.            I
15     didn't type hardly at all.                    I'm still a very
16     bad typist.         I'm trying to get better.                 But --
17     so I always handwrote everything before and had
18     other people type.
19                  Q.     Okay.      So at any point after 2004,
20     2005, the character bios would have been typed
21     up?
22                  A.     Correct.         Before I went to Disney
23     for sure because I was cleaning everything up
24     to go to Disney -- go to LA.
25                  Q.     When you say you were cleaning up

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 1     to go to Disney, what do you mean?
 2                  A.     Well, I knew I was going to go to
 3     that screenwriting conference at some point,
 4     and I wanted to make sure -- and I was gearing
 5     up to market this.             So I had to have something
 6     professional.          And handwriting wasn't going to
 7     get it.
 8                  Q.     Okay.      If you turn to page --
 9     let's see -- ANT324.
10                  A.     Uh-huh.
11                  Q.     You can see that this is another
12     version of the character bios.                        They've been
13     typed up.         The ages are typed up.                 And there's
14     the editing on this and handwriting is just
15     changing the title --
16                  A.     Uh-huh.
17                  Q.     -- from Zodiac Regiment 12 Bios to
18     Character Bios.           What version is this from?
19                  A.     So these are likely me all fixing
20     typos in Justin's work is what that likely is.
21     That's what it looks like to me.                        I can't --
22                  Q.     Okay.      So if you turn to ANT327.
23                  A.     Or it might have been different
24     versions that I was -- like how do you
25     characterize it.            But it's all --

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 1                  Q.      If you turn to ANT327, it's a
 2     handwritten sheet.
 3                  A.      Uh-huh.
 4                  Q.      Let me know when you're there.
 5                  A.      Uh-huh.
 6                  Q.      Are you there?
 7                  A.      Uh-huh.
 8                  Q.      Yes?
 9                  A.      Uh-huh.
10                          MS. COLE:          Yes?       You have to answer
11     yes or no.
12                  A.      Yes.
13     BY MS. COX:
14                  Q.      So this says Zodiac Kids, dash,
15     Treatment.          It begins, Zodiac Kids is the X-Men
16     for the Yugio age.              It has the same potential
17     as Power Rangers and Teenage Mutant Ninja
18     Turtles.          With the Last Airbender coming out,
19     the timing is great.
20                          Is this your handwriting?
21                  A.      Yeah.
22                  Q.      Okay.      The reference to the Last
23     Airbender, do you recall whether this was the
24     television series or the full feature film?
25                  A.      I don't recall.

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 1                  Q.     Do you know what year these
 2     handwritten notes were made?
 3                  A.     So, once again, I think I was
 4     working on treatments and I would tweak them.
 5     So I don't know.
 6                  Q.     Would this have been before or
 7     after you went to the Screenwriting Expo in Los
 8     Angeles?
 9                  A.     The final treatment, I believe,
10     was after.
11                  Q.     I'm asking for the page that we
12     are looking at right now, the handwritten
13     notes, would this have been written before or
14     after you went to the Screenwriting Expo in Los
15     Angeles?
16                  A.     I think this tweaked version was
17     probably after.
18                  Q.     So this handwritten version didn't
19     exist at the time that you went to the
20     Screenwriting Expo in Los Angeles?
21                  A.     Probably not.
22                  Q.     So in the second paragraph of this
23     treatment summary, the last sentence says,
24     Every age of earth has had the need for order
25     to battle chaos and 12 amulets are passed down

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 1     from age to age giving the recipient the powers
 2     of their respective animal in the Chinese
 3     Zodiac.
 4                  A.     Uh-huh.
 5                  Q.     When you refer to their respective
 6     animal, the powers of the respective animal,
 7     what does that mean?
 8                  A.     There's 12 animals in the Chinese
 9     Zodiac.
10                  Q.     And what are the powers of the
11     respective animals of the Chinese Zodiac?
12                  A.     Well, the powers I gave them I
13     think is what I was referring to.
14                  Q.     But are those tied to the
15     characteristics that those animals have in the
16     Chinese Zodiac?
17                  A.     Are they tied to it?              Not
18     exclusively.
19                  Q.     To some extent?
20                  A.     I mean, sure.
21                  Q.     In what ways did you diverge from
22     the traditional Chinese Zodiac in giving
23     certain animals characteristics?
24                  A.     My unique expression would be
25     things like my Rabbitt character being in a

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 1     wheelchair.         That would be my unique
 2     expression.
 3                  Q.     Okay.      So the Rabbitt character in
 4     a wheelchair.          Anything else?
 5                  A.     Uh-huh.        Yeah, lots of things.
 6     The Rooster character having a sonic weapon.
 7                  Q.     Okay.      And what was the sonic
 8     weapon?
 9                  A.     He had a device.                  He had a bunch
10     of devices.         He was like MacGyver, James Bond
11     kind of guy.
12                  Q.     And what specifically was the
13     sonic weapon?
14                  A.     It was like a gun, but it could --
15     but it used sonics as opposed to bullets.
16                  Q.     Okay.      What else?
17                  A.     What else?
18                  Q.     So --
19                  A.     So --
20                  Q.     -- we've got the Rabbitt character
21     was in a wheelchair, the Rooster character has
22     sonic weapons, like a sonic gun?
23                  A.     Uh-huh.        And the lion character
24     could paralyze people by looking at them.                          It
25     had other -- well, the tiger character, her

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 1     code name was Fe Lion, but it was the tiger
 2     character could paralyze people by looking at
 3     them and then also had abilities of a tiger.
 4                  Q.      Okay.     What else?
 5                  A.      Dragon character was a martial
 6     artist.       He had a palladrium skateboard.
 7                  Q.      What did you say before
 8     skateboard?
 9                  A.      Palladrium.
10                  Q.      What is that?
11                  A.      It's a metal I made up.
12                  Q.      Okay.     What else?
13                  A.      So, I mean, Palomino was the
14     horse.       Okay.     Speed and endurance of a wild
15     horse, you know.             Conda was a --
16                  Q.      Well, wait.          So the question I'm
17     asking is, in what ways were your giving powers
18     to the respective animals of a Chinese Zodiac
19     diverging from the traditional Chinese Zodiac?
20     And so I want to pause on your statement about
21     how the horse had the speed and endurance of a
22     horse.
23                          Going back to the question of how
24     your giving the powers diverged from the
25     traditional Chinese Zodiac, do you have any

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 1     example of that for the horse character?
 2                  A.     Well, there's not traditional
 3     powers of a Chinese Zodiac that I know of.
 4                  Q.     Well, would a horse be having the
 5     speed and endurance of a horse?
 6                  A.     Well, a horse might have certain
 7     characteristics, but I don't know if that's
 8     traditionally associated with the Chinese
 9     Zodiac horse.
10                  Q.     Okay.      So you're saying that your
11     unique expression for the horse character was
12     it had the speed and endurance of a horse?
13                  A.     Yeah, she was from the Midwest and
14     she had, you know, extra strong legs
15     especially.
16                  Q.     Okay.      Sorry.         Go ahead.      What
17     else?
18                  A.     And so Conda was a fighter and she
19     was more of a jujitsu type of fighter that
20     could wrap herself around people and choke them
21     out.
22                  Q.     And what animal was that based off
23     of?
24                  A.     A snake.
25                  Q.     So choke them out similar to the

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 1     way a boa constrictor does?
 2                  A.     Yes.
 3                  Q.     Okay.      What else?
 4                  A.     And the dog character had the
 5     power to move earth.
 6                  Q.     How did the dog character do that?
 7                  A.     And he had dog senses; ability to
 8     smell and sense like a dog.
 9                  Q.     Okay.      So your unique expression
10     was that the dog character had dog senses?
11                  A.     Uh-huh.
12                         MS. COLE:          Objection to the
13     characterization of the testimony.
14     BY MS. COX:
15                  Q.     Was that correct?
16                         MS. COLE:          Same objection.
17                  A.     He has the power to move earth,
18     was his main ability, and then other dog
19     senses, yeah.
20     BY MS. COX:
21                  Q.     Okay.      But part of your unique
22     expression for the dog character is that he had
23     dog senses?
24                         MS. COLE:          Same objection.
25                  A.     And he had the ability to move

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 1     earth.
 2     BY MS. COX:
 3                  Q.     And also dog senses, correct?
 4                  A.     That was one of the things.
 5                  Q.     Okay.      What else?
 6                  A.     The rat character, the ability
 7     to -- he was an explosives expert, ability to
 8     hide in unusual places.                  He also ended up being
 9     a traitor.
10                  Q.     Okay.      A traitor similar to the
11     way someone would be described as a rat?
12                  A.     A traitor like a Benedict Arnold
13     type of person.
14                  Q.     What else?
15                  A.     Braxton Blake, he was Razorback,
16     so he had --
17                  Q.     What animal was that based off of?
18                  A.     The pig --
19                  Q.     Okay.
20                  A.     -- character.
21                  Q.     And what was your unique
22     expression?
23                  A.     He had saw blades on his arm.
24                  Q.     Okay.      Any other unique expression
25     in association with the pig character?

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 1                  Q.     Do you know when you first engaged
 2     Mr. Rieckhoff to help you with the typing of
 3     the script?
 4                  A.     Of this one?            My guess is 2004,
 5     2005.
 6                  Q.     So Mr. Rieckhoff assisted with
 7     typing up versions of the screenplay from at
 8     least 2004 to 2010?
 9                  A.     Probably.
10                  Q.     And when did Mr. Rieckhoff live
11     with you?
12                  A.     I can't guarantee he was the one
13     that did the final.              I had different people do
14     stuff for me.          My son Alex did work for me,
15     Justin did, my ex-wife.
16                  Q.     When did Mr. Rieckhoff live with
17     you?
18                  A.     I don't have those exact dates.
19                  Q.     So this document where the file
20     name is Zodiac_Kids_final_copy.doc, is this the
21     finished copy of the Zodiac Kids?
22                  A.     I haven't made any changes since
23     then, to my knowledge.
24                  Q.     Okay.      So, to your knowledge, this
25     attachment that ends in ANT3156 is the most

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 1                  Q.     So Exhibit 13, Bates number
 2     ANT1282, produced by you, it looks to be about
 3     half of a placemat from a Chinese restaurant?
 4                  A.     Uh-huh.
 5                  Q.     Can you tell me what this is?
 6                  A.     I don't know exactly what
 7     restaurant this one is from, but it's the kind
 8     of placemat that I originally got the idea from
 9     the Zodiac Kids from.
10                  Q.     And do you know when it got
11     ripped?
12                  A.     No clue.
13                  Q.     Was this located in your Zodiac
14     Kids research files?
15                  A.     Research, I mean, no.               I have a
16     big box of stuff.
17                  Q.     Do you recall why you kept this
18     half of the placemat?
19                  A.     Why I kept it?              I don't know.       I
20     think I went back and -- some things I had
21     notes on.         I don't know if I had notes on this
22     one or not.         I can't see the other side.
23                  Q.     Do you have another version of the
24     placemat that had notes on them?
25                  A.     I think we produced everything I

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 1     what I might have seen at the Chinese
 2     restaurant.
 3                  Q.     Do you remember referencing the
 4     Chinese Zodiac placemats in drafting Zodiac
 5     Kids?
 6                  A.     Do I remember referencing it?                   I
 7     don't think so.
 8                  Q.     Why would you have kept it?
 9                  A.     Oh, I kept notes on various
10     things.       I kept a bunch of this stuff, yeah.
11                  Q.     So this one doesn't have notes on
12     it.     Why would you have kept this?
13                  A.     I don't know.
14                  Q.     So other than serving as your
15     initial source of inspiration for developing
16     Zodiac Kids, you never looked back at Chinese
17     Zodiac placemats?
18                         MS. COLE:          Objection to
19     characterization.
20                         You can answer.
21                  A.     No, I might have.                 It has the
22     Chinese Zodiac on it.
23     BY MS. COX:
24                  Q.     If you look in the center of the
25     placemat, it indicates that, The Chinese Zodiac

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 1     consists of a 12-year cycle, each year of which
 2     was named after a different animal that imparts
 3     distinct characteristics to its year.
 4                         Do you see that?
 5                  A.     Uh-huh.
 6                  Q.     Is that a yes?
 7                  A.     Yes.
 8                  Q.     Did you learn from a placemat such
 9     as this that the Chinese Zodiac is regarded as
10     a cyclical phenomenon?
11                  A.     I don't remember learning that
12     from the placemat.
13                  Q.     How did you learn that?
14                  A.     I don't know if I ever learned it.
15     I felt like that was -- I may have seen it or
16     heard about it on the Internet, but I don't
17     remember when I learned about it or if it was
18     something I learned from a specific place.
19                  Q.     Did you consult any other sources
20     that describe the cyclical nature of the
21     Chinese Zodiac?
22                  A.     I don't remember the cycle element
23     specifically standing out from a source that I
24     found.       I mean, I did look at sources, but not
25     much.

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 1                  Q.     But we have here a Chinese Zodiac
 2     placemat from a Chinese restaurant, which
 3     you've identified as your source of
 4     inspiration.          And it notes that the Chinese
 5     Zodiac consists of a 12-year cycle, correct?
 6                  A.     One that was like this.                I'm not
 7     sure if this was the exact one, yeah.
 8                  Q.     Okay.      But we can agree that this
 9     placemat describes the Chinese Zodiac as
10     consisting of a 12-year cycle, correct?
11                  A.     Yeah.
12                  Q.     Are you aware of any circumstances
13     in which the Chinese Zodiac is not regarded as
14     cyclical?
15                  A.     I don't know one way or the other.
16                  Q.     Are you aware of any circumstances
17     in which the Chinese Zodiac is not described as
18     involving 12 years?
19                  A.     Well, there's a different year for
20     each character for sure.                  So that would be 12
21     years because there's 12 animals, yes.
22                  Q.     Are you aware of any circumstances
23     in which the Chinese Zodiac is not described as
24     involving 12 animals?
25                  A.     I mean, the answer is, probably

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 1                  A.     It may.        It's really small.            Noble
 2     and chivalrous, your friends, loving and
 3     honest.       Yeah.      I mean, it does.             I didn't -- I
 4     didn't -- I don't remember doing any of those
 5     things.       I didn't use any of those
 6     characteristics for my characters.
 7                  Q.     If we can look at the middle of
 8     the -- this is Exhibit 14, the middle of the
 9     placemat.         The second sentence says, Many
10     Chinese believe that the year of a person's
11     birth is the primary factor in determining that
12     person's personality traits, physical and
13     mental attributes, and degree of success and
14     happiness throughout his lifetime.
15                         Do you see that?
16                  A.     I see that.
17                  Q.     Okay.      And so that is expressly
18     stated on the one-page placemat --
19                  A.     Uh-huh.
20                  Q.     -- which you did use as your
21     source of inspiration for the Zodiac Kids,
22     correct?
23                  A.     Correct.
24                  Q.     So separate from the Chinese
25     Zodiac and the characters, in drafting the

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 1     you're referring to, and so that did get my
 2     attention, but I only watched a little piece of
 3     it once.
 4                  Q.     In the episode that you watched,
 5     did you learn that the -- there were 12
 6     talismans which were magical charms and each
 7     represented an animal of the Chinese Zodiac?
 8                  A.     No.
 9                  Q.     From the episode that you watched,
10     did you learn about the centuries-long battle
11     between good and evil over those 12 talismans?
12                  A.     No.
13                  Q.     Did you learn any of the names of
14     the characters from watching that one episode?
15                  A.     No.     I don't know if Jackie Chan's
16     a character or not, but I know his name.
17                  Q.     Other than a character named
18     Jackie Chan, do you remember any other
19     character names?
20                  A.     No.
21                  Q.     Was there anything else that stuck
22     out to you in watching that one episode that
23     seemed similar to the structure or elements of
24     Zodiac Kids?
25                  A.     It was a little annoying that some

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 1     of the -- just the implications were a little
 2     bit similar to some of my ideas.                      That was
 3     annoying to me.
 4                  Q.     What do you mean by the
 5     implications?
 6                  A.     And I don't recall exactly what
 7     they were, but it's like, crap, that's kind of
 8     like mine, but not -- not that close, but it
 9     seems like they might have some ideas that are
10     similar to mine.            That's always annoying.
11                  Q.     What do you mean by the
12     implications of that, though?
13                  A.     It's just annoying because you
14     want to have something original and I came up
15     with something original, and that's annoying.
16                  Q.     Do you recall what it was that
17     you from that portion of the episode saw was
18     similar?
19                  A.     No, not specifically.
20                  Q.     Okay.
21                  A.     I only watched a little bit of it.
22                  Q.     Why did you not watch any other
23     episodes?
24                  A.     Didn't interest me.
25                  Q.     Why did it not interest you?

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 1                  Q.     Are you aware of that being
 2     something that other authors and creators of
 3     just comic book creators do as well?
 4                         MS. COLE:          Objection to
 5     characterization.
 6                         You can answer.
 7                  A.     Well, like Thor, yeah, Thor's an
 8     example of that, probably, yeah.
 9     BY MS. COX:
10                  Q.     Are you aware of a comic book
11     series with a group of super humans with their
12     powers based off of the Western Zodiac?
13                  A.     To my knowledge, there is a
14     villain team that Marvel did based on the
15     Western Zodiac.           To my knowledge, that was --
16     that's the only thing that's out there.
17     There's been recently, I think, somebody that
18     has developed something similar to mine,
19     Knights of the Zodiac or something.
20                  Q.     What do you recall of the Marvel
21     comic series where the villain team is based on
22     the Western Zodiac?
23                  A.     Almost nothing.
24                  Q.     As far as you recall, are the
25     powers of those super humans based on whatever

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 1     to having that name just refer to the ordered
 2     team?
 3                  A.     So even if you remember the
 4     document you showed me earlier, Jason wrote
 5     Zodiac Kids on the outside of it.                         So I was
 6     always dealing with that.                   And that.        So the
 7     document was specifically cleaned up and
 8     labeled to take to LA.                 I know that for sure.
 9     It may have been incorporated before that,
10     but...
11                  Q.     Here on the treatment you describe
12     it as the X-Men of the Yugio age.
13                         What do you mean by that?
14                  A.     This is so long.                  I don't remember
15     that piece specifically.
16                  Q.     Does referring to it as the X-Men
17     of the Yugio age mean anything to you?
18                  A.     I mean, at the time, it did.                     At
19     the time, it did.
20                  Q.     So who are the X-Men?
21                  A.     X-Men is a Marvel superhero group.
22                  Q.     And what is Yugio?
23                  A.     That's what I'm trying to --
24     again, things were moving in -- at some point
25     toward the Anamay, DragonVale, all that kind of

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 1     what the concept is that you're referring to?
 2                 A.     Okay.     This is the Zodiac Legacy,
 3     which is a work developed by Stanley,
 4     supposedly, and Stuart Moore and Andie Tong,
 5     author.      Okay?      This is Zodiac Kids, which is
 6     authored by me.          Okay?      The obvious initial
 7     concept is exactly the same, which is about
 8     teenage kids who get the powers of the Chinese
 9     Zodiac and create a superhero team.                   Okay?     So
10     the concept is obviously very much the same.
11                 Q.     And are you saying that that is
12     original protected expression owned by you?
13                 A.     That's --
14                        MS. COLE:        Objection to the extent of
15     characterization of that.                 It's a legal
16     conclusion.
17                        You can continue.
18                 A.     Okay.     I would say that that, in
19     the ongoing cumulative effect of everything
20     they took, is absolutely protectable, unique
21     expression.
22     BY MS. COX:
23                 Q.     Okay.     I want to be more specific
24     with my question and bring you back to it.                      Are
25     you saying that the concept of teenage kids

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 1     something in that genre.
 2                  Q.     Okay.
 3                  A.     But I really don't -- I'm being --
 4                  Q.     Okay.
 5                  A.     -- as straightforward as I can.
 6                  Q.     So you believe that teenage kids
 7     having the power of the Chinese Zodiac is
 8     original protected expression owned by you.
 9     What else?
10                  A.     Okay.      So that's the beginning of
11     a cumulative effect of all these things.
12                  Q.     I'm looking for specifics.
13                  A.     I'm getting there.
14                         MS. COLE:          He's getting there.            Let
15     him answer.
16     BY MS. COX:
17                  Q.     I am going to have to be more
18     exacting on getting answers to the specific
19     questions being asked so that we can move
20     through the rest of this and we don't have to
21     go over time.
22                  A.     I get it.          Okay.          So one of the
23     things -- specific things is the similar same
24     sequence of events.              Okay.
25     BY MS. COX:

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 1                  Q.     And can you lay out for me the
 2     sequence of events that you say are similar?
 3                  A.     Getting there.              Okay.     All right.
 4     So the absolute opening of their work, okay,
 5     is -- and I marked this 1, and it's marked 1 on
 6     mine.      This is kind of gnarled and gross, but
 7     it's the way it is.              Specifically references in
 8     the beginning of their work a tour guide in a
 9     museum.       Okay?      The very beginning of my work
10     specifically references a museum and a tour
11     leader.
12                  Q.     If I could stop you there.                  What
13     page are you on on your screenplay?
14                  A.     Okay.
15                  Q.     Because I believe that your work
16     starts on a mountain.
17                  A.     Correct.         It's page 2, I believe.
18                  Q.     Okay.      So on page 1, what is the
19     first setting of yours?                  Is it not on a
20     mountain?
21                  A.     Page 1.        Give me a second.            So
22     page 1 does start on a mountain.                        Page 2 --
23                  Q.     Okay.      So the first scene of yours
24     starts on an extraordinary Himalayan mountain,
25     correct?

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 1                 A.      Page 1 starts there.
 2                 Q.      Okay.
 3                 A.      Page 2.
 4                 Q.      Which is a different theme?
 5                         MS. COLE:        Objection.           Let him answer
 6     your question.           You've interrupted him repeatedly.
 7     I know you're conscious of time, but you spent all
 8     morning on irrelevant material.                        He needs to be
 9     able to answer your question.
10                 A.      Okay.     Page 2 starts out with a
11     museum and a tour leader.                  Okay?
12     BY MS. COX:
13                 Q.      And what is the second setting in
14     the Zodiac Legacy?
15                 A.      And the pages -- the pages of this
16     is not clearly demarcated.                  So it looks like
17     it's page 3 of theirs, but the first page of
18     writing.         Okay.    There's illustrations prior to
19     that.     So is that page 3?               Is it page 4?        Is it
20     page 1?      I don't know.           But it's the beginning
21     of their work, the absolute beginning of their
22     work.
23                 Q.      Okay.     And the absolute beginning
24     of yours, to be clear, is on a Himalayan
25     mountain, correct?

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 1                         MS. COLE:        Objection.          Asked and
 2     answered.         And the documents speak for themselves.
 3                 A.      Incorrect.
 4     BY MS. COX:
 5                 Q.      So let's go to the first page of
 6     your screenplay.            I'm looking at Exhibit 12,
 7     ANT3065.         The screenplay begins, With a bird's
 8     eye view of an extraordinary Himalayan
 9     mountain, correct?
10                 A.      Hold on.        Yes.
11                 Q.      Okay.     What is the next sequence
12     in the sequence of events that you are saying
13     is similar?
14                 A.      Okay.     And, once again, I'm not
15     sure how we're going to look at this or how
16     we're going to number it because this is a
17     novel, mine's a screenplay.
18                 Q.      That's correct.
19                 A.      But -- but I think most people
20     would say in the absolute very beginning of the
21     work, both start the exact same way because
22     this has -- it has illustrations and this is a
23     novel, and this is a screenplay.                       So it's --
24                 Q.      Okay.     So --
25                 A.      It's not exactly the same, but I

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 1     would say --
 2                 Q.     -- moving on from the Himalayan
 3     mountain --
 4                        MS. COLE:        He is still answering your
 5     question.        Let him finish.           You're talking over
 6     him.     The court reporter's not going to get that.
 7     BY MS. COX:
 8                 Q.     Moving on to the Himalayan
 9     mountain where yours starts, what is the next
10     event that you say is similar in the sequence
11     of events?
12                 A.     Okay.     Then -- okay.            So it starts
13     exactly the same, or very close to same.                      Then
14     I've marked number 2, page 7 of your work.
15     Okay.     Again, this isn't comprehensive.                  This
16     is a very, very ad hoc, very quick analysis.
17                 Q.     Well, we have been in litigation
18     for four years, so I would hope it would be
19     more than ad hoc.
20                 A.     Okay.     So they reference -- okay.
21     And they do jump around.                There are things that
22     jump around, so they'll take things and mix and
23     match.      But this they reference the
24     grandfather, okay, and, again, on page 2 a
25     little further back, on page 89, okay, they

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 1     reference the distant executive parents issue.
 2                         But in the scheme of things, with
 3     a novel, which is much longer than my
 4     screenplay, that would be at a plot point or a
 5     beat point very similar to mine.                        Mine's
 6     condensed.         Remember, it's a screenplay.
 7                  Q.     So the fact that you have a
 8     grandfather in yours is a similarity that
 9     you're saying is original protected expression?
10                  A.     It's -- and, again, it's the
11     cumulative effect of all this.                        Remember that.
12                  Q.     But the fact that there's a
13     grandfather is part of the cumulative effect
14     you're referring to?
15                  A.     His grandfather, okay, who reveals
16     to him his heritage and/or destiny, who gives
17     to him a round disk that represents his Zodiac
18     power and the fact that the grandfather takes a
19     big role because the parents, coincidentally,
20     are both business executives and distant
21     people.
22                         So the plot points start very, very
23     similarly toward the beginning of both.
24                  Q.     And Zodiac Kids, does the
25     grandfather convey the Zodiac power to the

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 1     grandson?
 2                  A.     He gives him a round disk that
 3     represents his heritage and is attached to the
 4     Zodiac power.
 5                  Q.     Okay.      And in the Zodiac Legacy,
 6     is whatever the grandfather gives to the
 7     grandson, does it convey the Zodiac power?
 8                  A.     It does.
 9                  Q.     Can you point me to where in the
10     Zodiac Legacy the object that a grandfather
11     gives to a grandson conveys the Zodiac power?
12                  A.     It -- I didn't say that.                 It
13     doesn't -- I didn't say it does that.
14                  Q.     Okay.      So it does not?
15                  A.     It represents or is involved with
16     the Zodiac power and his Legacy both.
17                  Q.     In Zodiac Kids it actually conveys
18     the power, whereas it does not in Zodiac
19     Legacy?
20                  A.     Correct.         Correct.
21                  Q.     What is the next --
22                         (Overlapping speakers.)
23                         (Clarification by the reporter.)
24                         THE WITNESS:            Sorry.
25     BY MS. COX:

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 1                 Q.     What is the next element in the
 2     sequence of events that you say is similar and
 3     represents protected original expression?
 4                 A.     Okay.     And, again, each one -- so
 5     from their book, he makes a statement -- the
 6     grandfather makes a statement, it's your
 7     heritage.        In mine, he says, your destiny,
 8     Tommy, your destiny.             So the scenes are
 9     analogous.        They are very, very, very similar
10     at the same point in the screenplay and they're
11     analogous, they're very similar.                      So they serve
12     the same purpose for my specific expression.
13                        Okay.     And then if we go to number 4,
14     which is further down the road -- again, I'm a
15     little bit jumbled on this.                  That's okay.      There's
16     specific scenes besides the sequencing that occur.
17     So, for example, on page --
18                 Q.     Are you just saying that jumping
19     around?
20                 A.     Well --
21                 Q.     I'm looking for a sequence of
22     events so that they are --
23                 A.     Okay.
24                 Q.     -- matched in sequence.
25                 A.     Okay.     Well, that occurs, so I

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 1     gave you some sequence.                  Now, these are exact
 2     scenes that are extremely similar that I
 3     believe cannot be coincidental at all.
 4                  Q.     Is it part of the sequence of
 5     events, or is it different?
 6                  A.     It does, but it's not -- I
 7     wouldn't say it matches up exactly, okay, but
 8     it's part of the same.                 In a novel, your
 9     timing's different.              So does it serve the same
10     purpose in both works?                 Absolutely.       Okay?
11     Absolutely.         Does it fit in the same plot point
12     if we worked it out over a period of time?                          I
13     believe so.         Okay?      But both of them on page
14     234, she refers to a humvee.
15                  Q.     Who is she?
16                  A.     Okay.      Her name is -- I believe
17     it's Jasmine, you know.                  And she led them
18     across the airfield to a battered rugged humvee
19     with oversized tires.                Kim and Liam climbed
20     into the back seat.              Okay.        And then I'll skip
21     just a little bit.             Okay.
22                  Q.     And the Jasmine character that
23     you're referring to, this is the Dragon
24     character?
25                  A.     Jasmine was sharing the Dragon

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 1     power with Maxwell.
 2                  Q.      Okay.
 3                  A.      Okay.     But the scene that's very,
 4     very similar and serves the same purpose, okay,
 5     as mine, Jasmine steered the humvee straight
 6     toward the icy face of the plateau.                        Then
 7     grinning she pressed down hard on the
 8     accelerator.          As the snowy rock wall drew
 9     closer, Steven gripped his seat in panic.                          Just
10     in time, an opening appeared in the side of the
11     rock.      It swiveled upward like a garage door
12     forming an entrance big enough to drive a bus
13     through.          As they drove through the dark
14     entrance, the bottom of the garage door slid
15     up.     The roof of the humvee just made it
16     underneath the ceiling.                  Steven flinched.
17                          Now I'll read you my version of
18     that.      Okay?      Where is he?            Sorry.      Right here.
19                          Okay.     In my version, on page 9,
20     Exterior San Francisco-Day.                     Lee Ching and Steve
21     Fin are speeding through an older part of San
22     Francisco in a humvee.                 Hummer is the normal
23     civilian term for that.                  Okay.        My background's
24     military, so I used the term humvee.                        They speed
25     toward an old water tower, which they use water

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 1     towers in their second book, that has billboards
 2     covering the bottom of the tower on all sides.
 3     Much to Steve Fin's chagrin, it appears that they
 4     are on a collision course with the billboard.
 5                         Steve Fin:         Master, Watch out,
 6     you're going to kill us.
 7                         Lee Ching:         It is not polite or
 8     wise to disturb the driver of a vehicle, Steve.
 9     Now sit back and hold on.
10                         The humvee heads straight through
11     the billboard as Steve Fin closes his eyes and
12     screams.
13                         Lee Ching:         We're here.       You can
14     open up your eyes, Steve.
15                         Steve Fin:         Where's here?        We're
16     not in hell, are we?
17                         Lee Ching:         Well, no more than
18     usual.      It's all relative anyway, is it not?
19     This is our new base of operations.                     It's quite
20     sufficient for our needs.
21                         Steve Fin opens his eyes and looks
22     around at the unbelievably large area.
23                         I won't go into more detail.
24                 Q.      So --
25                 A.      But they both enter into the --

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 1     they use a gag to scare their passenger in a
 2     humvee, and they both end up in the
 3     headquarters together.
 4                  Q.     So in the Zodiac Legacy, the
 5     Jasmine character, she is a female with the
 6     powers of the Dragon Zodiac.                      You referenced in
 7     Zodiac Kids Lee Ching -- this is the million
 8     year old --
 9                  A.     Right.
10                  Q.     -- ancient being, and Steve Fin,
11     who's the Caucasian 30-something-year-old male
12     without any Zodiac powers.                    So who is the
13     analogous character to Jasmine in this -- in
14     these two scenes that you're saying?
15                  A.     So what matters --
16                  Q.     I'm sorry.           Let's go back to my
17     question.         Are you saying that there's a
18     character analogous to Jasmine in this scene
19     that you've identified?
20                  A.     They're both driving the humvee.
21                  Q.     Okay.      Who is the character that
22     you're saying is analogous to Jasmine --
23                  A.     So --
24                  Q.     -- in Zodiac Kids?
25                  A.     So Lee Ching is driving the humvee

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 1     in Zodiac Kids.
 2                  Q.     Okay.      So is Lee Ching the
 3     character who's analogous to Jasmine?
 4                  A.     He is analogous in that he's
 5     driving the vehicle.
 6                  Q.     Okay.      And then Jasmine drives
 7     through a door, and then Lee Ching drives
 8     through a billboard?
 9                         MS. COLE:          Objection --
10     BY MS. COX:
11                  Q.     And that's the similarity?
12                         MS. COLE:          -- to the recap of what
13     Jasmine drives through.
14                  A.     So both of them are used for the
15     purposes of humor and to accomplish something
16     in the writing.           Okay.        So what you're trying
17     to do is you're trying to -- they're trying to
18     scare their passenger by driving into an
19     immovable object and then, surprise, they both
20     end up in headquarters.                  Okay?
21     BY MS. COX:
22                  Q.     Okay.
23                  A.     So it's the exact same purpose.
24     It's the exact same scene with, once again, the
25     Volkswagen VIN number is the same.                      You might

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 1     have changed the color a little bit from yellow
 2     to red, but it's the same thing.
 3                  Q.     Okay.      Are there other ways in
 4     which you say that Jasmine is the analogous
 5     character to Lee Ching?
 6                  A.     That's not what I'm saying.
 7                  Q.     Okay.      So only in this one scene
 8     you're saying that Jasmine is the analogous
 9     character to Lee Ching?
10                         MS. COLE:          Objection.
11                         Go ahead.
12                  A.     I'm not saying that.              But I'm
13     saying they're not -- Lee Ching is not a Dragon
14     in Zodiac.
15     BY MS. COX:
16                  Q.     No, he's not.
17                  A.     Correct.         But that's all -- that's
18     all veneer.         That's all the covering.
19                  Q.     Well, the Dragon power is
20     Jasmine's Chinese Zodiac power, correct?
21                  A.     Uh-huh.
22                  Q.     Are you -- do you believe that
23     there is any character who is analogous to the
24     Jasmine character in the Zodiac Legacy?
25                  A.     Analogous?           Well, she's the Dragon

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 1     character.        So Tommy Hoto would have some
 2     analogies to her.
 3                 Q.     Okay.
 4                 A.     And the replicant, that I don't
 5     believe is ever brought out, would have some --
 6     in that specific context.
 7                 Q.     Okay.     So do you believe that the
 8     Jasmine character was copied from Tommy Hoto or
 9     the replicant or from Lee Ching?
10                        MS. COLE:        Objection to the
11     characterization.
12                 A.     None of those.
13     BY MS. COX:
14                 Q.     Okay.     What is the next event in
15     the sequence of events that you say is similar
16     and protected expression?
17                 A.     Okay.     And, again, they do jump
18     around a little bit.             But, okay, number 5 on
19     yours, marked 5 for me is -- 322 is your page
20     number.      Okay.      To the beginning, Steve Fin is
21     talking to an Asian man who is levitating in
22     the air with his legs crossed lotus style.
23                        Here's yours.           In the exact center of
24     the garden, under a Juniper tree, Maxwell rocks
25     slowly on an old porch swing.                   His eyes were

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 1     closed and his legs were folded up in a lotus
 2     position.         So --
 3                  Q.     Okay.      So on that one, Steve Fin
 4     is the Caucasian 30-something-year-old male
 5     without any Zodiac powers, Lee Ching is a
 6     millions-year-old ancient being without
 7     specific Zodiac powers, and you're saying that
 8     that is analogous to one of the Zodiac Legacy
 9     characters who has Zodiac powers?
10                         MS. COLE:          Objection to the
11     characterization of the testimony.
12                  A.     So your narrative isn't what my
13     narrative is.
14     BY MS. COX:
15                  Q.     Okay.      So it's based on the fact
16     that there is a character who is levitating
17     versus sitting on a swing?
18                  A.     With -- in the lotus position.
19                  Q.     Okay.      In a lotus position.              So a
20     character, regardless of who that character is,
21     the similarity is that they are either
22     levitating or sitting on a swing in lotus
23     position?
24                  A.     Uh-huh.
25                  Q.     Okay.      What is the next similarity

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 1     in the sequence of events?
 2                  A.     And, again, Maxwell is the -- he's
 3     the evil leader, and Lee Ching would be the
 4     good, okay, leader.              Okay.        So --
 5                  Q.     What is the next event in the
 6     sequence of events that you say is similar?
 7                  A.     Okay.      So then both teams go into
 8     the recruitment process.                  Once again, where
 9     that occurs is important.                   They start
10     recruiting characters from all over the world.
11     Okay?      And I won't go through every one of
12     them.
13                         But Northern Ireland is K-9;
14     that's mine.          Liam is theirs.                 South Africa is
15     Conda; that's mine.              Duane is theirs from South
16     Africa, again.           What's South Africa and
17     Northern Ireland have to do with the Chinese
18     Zodiac?       Absolutely nothing.                 That's my --
19                  Q.     If we can pause so I can catch up.
20                         MS. COLE:          He's finishing his --
21                  A.     That's my unique expression, and
22     the cumulative effect of this and the
23     coincidental possibility of that is nearly
24     zero.
25     BY MS. COX:

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 1     BY MS. COX:
 2                  Q.     Okay.      So going back to the
 3     question, you were drawing the connection
 4     between characters that you say are from
 5     Northern Ireland.             Your Irish character is the
 6     dog character.           And in the Zodiac Legacy, the
 7     character from Northern Ireland, Liam, is the
 8     ram character, correct?
 9                  A.     According to your document, it
10     just says Ireland.             Can I --
11                  Q.     Okay.      And are you saying that --
12                  A.     I'm just saying what yours says.
13                  Q.     Which character are you saying is
14     from Northern Ireland, or are you now saying
15     that neither character's from Northern Ireland?
16                  A.     All I'll say is what mine refers
17     to.     Mine refers to he's the son of a poor
18     Irish family, his cousins are involved with the
19     IRA, and yours says you're from Ireland.
20                  Q.     So your dog character, you're
21     saying, therefore, was the source of
22     inspiration for the ram character?
23                  A.     My character from Ireland -- I
24     have a character from Ireland, and you do as
25     well --

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 1                  Q.     Okay.
 2                  A.     -- which is counterintuitive to a
 3     Zodiac team.
 4                  Q.     Okay.      Are you saying that there
 5     are -- the characters who are similar are your
 6     dog character and Zodiac Legacy's ram
 7     character?
 8                  A.     No.     No.
 9                  Q.     It's just the fact that there are
10     two characters, albeit with different powers,
11     that are Irish?
12                  A.     Correct.
13                  Q.     Okay.      What is the next event in
14     the sequence of events that you say are similar
15     and protected expression?
16                  A.     Okay.      So the recruitment begins.
17     And, again, I'm trying to -- I'm trying to be
18     respectful of everybody's time.                       So my Rabbitt
19     character controls computers, has unusual power
20     over computers.           Duane, your pig character, has
21     unusual power over computers.
22                  Q.     Okay.      So if I can pause there,
23     so you're saying the fact that your rat
24     character --
25                  A.     Rabbitt.         Sorry.

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 1                  Q.     Rabbitt character has power over
 2     computers.         And which character in the Zodiac
 3     Legacy are you saying?
 4                  A.     Duane, the pig character.
 5                  Q.     Okay.      So the Rabbitt and the pig
 6     character; that's the similarity?                        Okay.
 7                  A.     Correct.
 8                  Q.     What is the next event in the
 9     sequence of events that you say are similar and
10     protected expression?
11                  A.     Okay.      Well, those are the
12     countries that are rolled out.                        So that's a big
13     plot point.         Recruiting the characters doesn't
14     have to be something that's written into a
15     story.       You don't have to do that in every
16     story.       So the fact that they included that as
17     a major plot point, and I did that as well as
18     my unique expression, the fact that so many
19     unusual coincidences happened to make them
20     very, very similar -- almost all the countries
21     are similar or identical -- is very, very
22     counterintuitive and unusual.
23                  Q.     And you say the recruitment is the
24     same.      How were the characters recruited in
25     Zodiac Kids?

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 1                  A.      In Zodiac Kids, he did a lot of
 2     different things.             He appeared on cereal boxes,
 3     on billboards and cell phones, and on a TV set.
 4                  Q.      Okay.     Is that how the characters
 5     are recruited in Zodiac Legacy?
 6                  A.      No.
 7                  Q.      Okay.     What is the next similarity
 8     in protected expression?
 9                  A.      Okay.     One of the biggest -- and
10     once again, I've just marked very, very
11     quickly.          This is very, very bare bones, bare
12     bones.       These concepts, like kids versus adults
13     is a big -- we talked about themes -- is a big
14     issue here, and that doesn't have to be.                         You
15     don't have to have kids fighting adults.                         You
16     don't have to have -- Zodiac fighting Zodiac
17     and you don't have to have kids fighting
18     adults.
19                  Q.      Do you -- are you saying that kids
20     fighting adults is protected expression
21     original to you?
22                  A.      In this context, in my expression,
23     yes.
24                  Q.      Okay.
25                  A.      Because, once again, there's a

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 1                 Q.     What's the next thing you believe
 2     is similar and protected --
 3                 A.     Just so much information.               Sorry.
 4     Again, on page 255 of yours:                   This should be a
 5     milk run, people.           Intel says their powers are
 6     weaker than ours and we're trained combat
 7     veterans.        They're just kids.
 8                        And that's just an example.                They
 9     redo -- they'll visit a theme and they'll go
10     there again and again and again and again.
11     Again, not -- I mean, the coincidental
12     possibility of that is just nearly nothing.
13                 Q.     What's the next element of
14     protected expression?
15                 A.     9, they talk about a jet copter in
16     stealth mode.         Okay?      On page 441:         It's the
17     Vanguard plane, Carlos said, the one they used
18     to drop off the strike force in Greenland.
19     It's hovering in stealth mode.
20                        Again, mine -- I'm trying to hurry,
21     but I'm not good at hurrying here.                    Okay.     I got
22     to find 9.        I just threw all this together last
23     night.      My number 9 might have fallen off.                   Let me
24     see.     Where did 9 go?
25                        Okay.      There's multiple places,

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 1     but on 49, The jet copter pulls up kicking in
 2     its bottom and wing rotors, which then gently
 3     sets the plane down.               You know, a series of
 4     explosion racks the jet copter.
 5                         Their photograph mimics underwing
 6     rotors on the actual illustration of their
 7     photograph on page 442.
 8                  Q.     Okay.      So is the similarity the
 9     existence of a aircraft of some sort with
10     special features?
11                  A.     No.     It's how it's used.              Their
12     expression -- they've taken my expression and
13     used it in the same way because when I express
14     it, it's used to create creative and literary
15     effect.       And they've taken that and used it to
16     try to obtain the same unique expression and
17     effect as I have.
18                         So it's not just the fact that
19     they have it.          It's the fact that they use it
20     to create surprise and energy, oh, it's landing
21     in stealth mode.            So it's used the same way as
22     mine is used.
23                         That one must have fallen off.
24     Number 9 must have fallen off.
25                  Q.     Are we still in the sequence of

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 1     events, or are you just identifying things,
 2     regardless of where they appear, are
 3     similarities?
 4                  A.      It ends the exact same way as
 5     well.
 6                  Q.      Okay.     How does your screenplay
 7     end?     Can you direct me to the page?
 8                  A.      Okay.     Still looking for number 9.
 9     And there's so many more things than this.
10                  Q.      I have -- I'm looking at ANT3153
11     on your screenplay.              The last setting is
12     interior of the tower in San Francisco during
13     the day.
14                  A.      I don't know what happened here.
15     Hold on.          Give me a second.             You guys are all
16     so much faster than me.                  So what page did we
17     say?     Again, I'm sorry.
18                  Q.      So I'm looking at, on your
19     screenplay, ANT3153.               I believe the last scene
20     is shown there.           It's interior of the tower San
21     Francisco during the day.
22                  A.      Give me one second.              I'll find it.
23                  Q.      And, also, if you're comparing to
24     the Zodiac Legacy, it's a three-book series, so
25     I don't know if you want to go get the third

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 1                 A.     Hold on.        Give me a second.          Not
 2     as fast as you guys.             Correct.
 3                 Q.     Okay.     So the last scene in Zodiac
 4     Kids is a scene in the tower in San Francisco?
 5                 A.     The exact last scene.
 6                 Q.     Yes --
 7                 A.     But toward the end --
 8                 Q.     -- the last scene?
 9                 A.     So a plot point or a beat or
10     wherever it fits, so far as in the expression
11     that the reader obtains the benefit from that
12     scene, which could be different in a novel than
13     a screenplay, is still, Dragon, let's get out
14     of here, the place is coming down around us.
15                        So it starts the same and it ends the
16     exact same.
17                 Q.     Well, again, to be clear --
18                        MS. COLE:        Please let him finish his
19     answer.
20                        Were you done, John?
21                        THE WITNESS:           I had one more thing
22     I was going to jump in there.
23     BY MS. COX:
24                 Q.     Okay.     On point that we're
25     discussing, when you say it ends the exact same

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 1     way, your script ends in a tower in San
 2     Francisco.
 3                  A.     Uh-huh.
 4                  Q.     How are you saying that the Zodiac
 5     Legacy three-book series ends?
 6                  A.     Okay.      So --
 7                         MS. COLE:          Objection to the
 8     characterization of what we're talking about.
 9     BY MS. COX:
10                  Q.     Did you -- I believe you said a
11     moment ago that they end the exact same way.                            I
12     want to be clear, your screenplay ends in a
13     tower in San Francisco.
14                  A.     Right.
15                  Q.     Correct?
16                  A.     Okay.      So -- so, again --
17                  Q.     Is what I just said correct?                   Is
18     the last scene in your screenplay in a tower in
19     San Francisco?
20                  A.     That's correct.
21                  Q.     Okay.      And what are you saying is
22     the last scene in the Zodiac Legacy?
23                  A.     Okay.      So -- so what matters in a
24     story is the spine.
25                  Q.     What are you saying is the last

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 1     scene in the Zodiac Legacy?
 2                  A.     Legacy.        Which one's Legacy?
 3     Yours.
 4                  Q.     And so you are looking at the book
 5     Convergence, which is the first book in the
 6     three-book series, correct?
 7                  A.     Uh-huh, correct.                  The last scene?
 8     Okay.      The exact last scene -- it's not really
 9     set up as scenes.             But the last chapter and the
10     last page is 463.             Okay?       But the last beat
11     point or plot point or sequence point that
12     would be analogous from a novel to a
13     screenplay, okay, important things were the
14     energy, the climax of the situation, okay, is
15     going to be before that.                  That's the
16     resolution.         Okay?
17                  Q.     Okay.
18                  A.     So, again, that's a different --
19     you can say the scene, but that's not exactly
20     it.     She's right.          The roof was cracking and
21     shattering breaking off in large chunks.                         The
22     explosion had been the last straw.                         A massive
23     chunk of ceiling crashed down followed by an
24     avalanche of rock.
25                         They put the exact same scene

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 1     sequences, yes, it's novel form, but for the
 2     same effect that I did in my screenplay.
 3                  Q.     Okay.      So you're drawing a
 4     connection between a scene, an earlier than the
 5     ending in yours, in a sphinx to, towards the
 6     end of the first book in the three-book series
 7     Zodiac Legacy, in a cave, correct?
 8                  A.     Correct.
 9                  Q.     Okay.      What is the next element of
10     protected expression that you say is similar?
11                  A.     Okay.      So here's just an example
12     of banter.         Okay?      Again, I'm just tossing that
13     out.     In mine, Dobermane says -- this is on
14     page 62 -- Whistle while you work.                      Talk about
15     fun.     My electro whip is operating at maximum
16     efficiency.         I bet I'll be able to flay the
17     skin right off those pain in the rear kids.
18                         Whereas, Monkey, on page 269 of
19     your work, says, Monkey capered up grinning.
20     It's fun to hit kids, he said to Ox, isn't it?
21                         So, again, are they exact?                  No.
22     But do they have the same effect as an
23     expression?         Yes.      So they're taking my
24     expression and they're using it for the same
25     purpose as I used mine.

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 1                  A.      Well, Willenbrink from University
 2     of Dayton.
 3                  Q.      He would have been associated with
 4     the law clinic?
 5                  A.      Correct.        And I spoke to the law
 6     clinic where Arthur went to -- he was getting
 7     his LLM.          I believe it was University of
 8     Southern California.
 9                  Q.      Arthur is reference to?
10                  A.      Parnak Kochyan.
11                  Q.      Yeah.     Is he an attorney now?
12                  A.      He didn't finish his last class,
13     from what I understand.                  He's got one credit or
14     something.
15                  Q.      How did you find out about the
16     Screenwriting Expo 5 happening in Los Angeles
17     in October 2006?
18                  A.      I don't recall, but I think I
19     found out about it from a magazine.
20                  Q.      Had you ever gone to a
21     screenwriting Expo previously?
22                  A.      No.
23                  Q.      Did you ever go to a Screenwriting
24     Expo after that one?
25                  A.      No.

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 1                  Q.      What was it about the ad or
 2     whatever promotion you saw about the
 3     Screenwriting Expo that caused you to want to
 4     go?
 5                  A.      It's very hard to gain access to
 6     Hollywood.         You have to have a deal to get an
 7     agent.       You have to have an agent to get a
 8     deal.      It's extremely hard to break in.                       It's
 9     nearly impossible.               It's the biggest little
10     town in the planet.                And so it's very, very
11     tight community breaking in.                           And when the
12     possibility of access is there, I thought it
13     would be worth pursuing.
14                  Q.      Did you go to learn about
15     screenwriting?
16                  A.      Yes.
17                  Q.      Were you aware that there were --
18     every day there was programs and seminars on
19     the tools of screenwriting?
20                  A.      I mean, I'm sure there's -- and I
21     read some books on screenwriting.
22                  Q.      So you signed up for the -- I
23     believe the gold package?
24                  A.      Correct.
25                          MS. COX:          I'm handing the court

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 1     reporter a document to be marked as Exhibit 21.
 2                         (Exhibit 21 was marked for
 3                         identification.)
 4     BY MS. COX:
 5                  Q.     So this is a document produced by
 6     you.     It's a scan of a physical lanyard pass,
 7     the gold pass.           It has your name on it.                Do you
 8     recall how much you paid for the gold pass?
 9                  A.     I believe it was about $300.
10                  Q.     And how much more was that than
11     the lesser tier?
12                  A.     I believe it was $75.
13                  Q.     And what did you get with the gold
14     pass that you didn't get with the next rung
15     down?
16                  A.     I don't recall.
17                  Q.     The dates here you can see on
18     the pass faintly is from October 19th to the
19     22nd.      October 19th, 2006 was a Thursday, the
20     22nd was a Sunday.             Do you recall whether you
21     were there for the entirety of the expo?
22                  A.     I think we've got a document that
23     shows that I had pitch meetings scheduled
24     Friday, Saturday, and Sunday.
25                  Q.     Okay.      Do you know whether you

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 1     were there on Thursday?
 2                  A.     I believe Justin and my wife and
 3     kids dropped me off at the airport Thursday
 4     night.
 5                  Q.     Okay.      Dropped you off at the
 6     airport?
 7                  A.     In Cincinnati to fly to LA.
 8                  Q.     In Cincinnati?              Okay.
 9                  A.     That's my recollection.
10                  Q.     So you would have flown there and
11     gotten there in person for Friday?
12                  A.     That's my recollection.
13                  Q.     Did you fly in with anyone?
14                  A.     No.
15                  Q.     Were you meeting anybody from Ohio
16     in Los Angeles?
17                  A.     Arthur.
18                  Q.     Was Mr. Kochyan also attending the
19     PitchFest?
20                  A.     No.
21                  Q.     Why was Mr. Kochyan in Los
22     Angeles, if you know?
23                  A.     He was getting his LLM at the
24     University of Southern California, I believe
25     was the school.

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 1                  A.      Whatever he had in Los Angeles
 2     with him.
 3                  Q.      And how long was that phone call?
 4                  A.      It was probably short, stuff like
 5     are you going to need a ride to the airport,
 6     all that kind of stuff.
 7                  Q.      Okay.      Five minutes, ten minutes?
 8                  A.      It was short, is my recollection;
 9     ten minutes or less, probably.
10                  Q.      Okay.      What else did you discuss
11     other than logistics about getting to the
12     airport?
13                  A.      Well, just I was excited I met
14     with Disney.
15                  Q.      Okay.      What specifically did you
16     say?
17                  A.      I met with Disney, this is great.
18     You know, I wasn't happy about the lady I met
19     with.      I thought she was rude, you know.
20                  Q.      And what was the name of the
21     person that you met with?
22                  A.      I don't recall the name.
23                  Q.      Okay.      She was a woman, you're
24     saying?
25                  A.      Correct.

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 1                  Q.      Okay.     Was she Asian?
 2                  A.      My recollection is she leaned
 3     toward Asian with dark brown hair.
 4                  Q.      Okay.     Other than the color --
 5                  A.      Brown hair.
 6                  Q.      -- of her hair, when you say that
 7     she leaned towards Asian, what do you mean?
 8                  A.      Darker complexion.
 9                  Q.      How long --
10                  A.      Very short meeting, so it was not
11     like we were hanging out for hours.
12                  Q.      Okay.     Did she wear glasses?
13                  A.      Not to my recollection, no.
14                  Q.      Was she tall, short?
15                  A.      Medium, I think.
16                  Q.      Okay.     What was her build?
17                  A.      Medium.
18                  Q.      Okay.     Did she have an accent?
19                  A.      Not to my recollection.
20                  Q.      Was her name Kathie?
21                  A.      I mean, no, not to my knowledge.
22     She never introduced herself that way.
23                  Q.      Okay.     So she never introduced
24     herself.          So are you saying that you never knew
25     her name?

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 1                 A.      Well, you show up at the
 2     registration desk, and apparently -- there may
 3     have been some preregistration, but my
 4     recollection is that I showed up and they said
 5     go over there and that's where you sign up for
 6     the pitch meetings.
 7                 Q.      Okay.
 8                 A.      And so you go over there and you
 9     look at this list of companies, and you have no
10     clue who any of them are.                  And the one company
11     that I wanted, the whole reason I was there,
12     was Disney, and they were not available.                       And
13     so they said sign up for some and then what
14     will happen is keep checking back and people
15     turn these tickets in, they might meet the
16     company that they're expecting to meet, they
17     might have something really good where somebody
18     options their screenplay right there and so
19     they leave and go back to Omaha or whatever.
20                         And so I remember checking back and
21     Disney was not available.                  And then I remember
22     checking back again and Disney was not available.
23     And then when I had almost kind of given up
24     hope -- and I kept buying new pitch tickets even
25     though I didn't really know who these companies

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 1     were, and I couldn't really afford it, but, again,
 2     I wanted to stay in the mix.                   And so then,
 3     finally, I came back and, lo and behold, Disney
 4     was available, and I snatched it up immediately.
 5                 Q.     Okay.     So you're saying that when
 6     you got to Los Angeles on whatever, Friday, for
 7     the expo, at that point you had not actually
 8     signed up for any pitch meetings yet?
 9                        MS. COLE:        Objection to the
10     characterization.
11                        You can answer.
12                 A.     Again, I think there's some
13     documents that might say otherwise, but my
14     recollection is that I signed up onsite.
15     BY MS. COX:
16                 Q.     Right.      But my point is, though,
17     when you say onsite, you mean physically in Los
18     Angeles --
19                 A.     Correct.
20                 Q.     -- at the Screenwriting Expo --
21                 A.     Correct.
22                 Q.     -- after you walked in the
23     doors --
24                 A.     Correct.
25                 Q.     -- that is the point at which

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 1     you --
 2                  A.     Correct.
 3                  Q.     -- registered for specific pitches
 4     and paid for them?
 5                  A.     Correct.         Now, Justin might have,
 6     Alex might have.            They might have been typing
 7     them in on the phone with me, but I know I
 8     definitely signed up for pitch meetings when I
 9     was onsite.
10                  Q.     Okay.      And as far as you recall,
11     before you were onsite, you had not
12     preregistered and signed up for those pitch
13     meetings?
14                  A.     Apparently we did somehow,
15     according to some documents.
16                  Q.     What are you referring to here?
17                  A.     I think there were some documents
18     that were produced that say there was some
19     preregistration.
20                  Q.     Are --
21                  A.     But I don't know how they did
22     that.      I mean, this is the Wild West here.                      I
23     don't know if the lady, when I was on the
24     phone, with her put some in.                      But so that's
25     not -- that process wasn't as clear.                       The

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 1     process that's very clear to me is when I was
 2     onsite.
 3                  Q.     Okay.      Did you have any pitch
 4     meetings on the Friday?
 5                  A.     I believe there were some listed
 6     in what they provided us.
 7                  Q.     I'm saying, did you sign up for
 8     and pitch anyone on the Friday?
 9                  A.     I think I scheduled pitch meetings
10     for every day that I could.
11                  Q.     Okay.      So if you turn back to -- I
12     think this is the interrogatory responses,
13     would be exhibit -- I forget what exhibit we
14     designated that as.
15                         MS. COLE:          It's 15.
16                         MS. COX:         15.      Okay.
17     BY MS. COX:
18                  Q.     So 15.       If you turn to page 7, rog
19     number 8.         It says, Identify all persons you
20     met at pitch meetings at the PitchFest.                         You
21     write, Subject to and without waiving
22     objections and relying on Kathie Fong Yoneda's
23     declaration asserting she did not attend
24     PitchFest.
25                         I want to pause there.               What

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 1                  Q.     Okay.      Is this before filing the
 2     litigation at some point in 2018, or is this in
 3     2006?
 4                  A.     No.     It would have been in
 5     anticipation of litigation, I think.
 6                  Q.     Okay.      So in 2018, you said you
 7     were looking all over the Internet and Kathie
 8     Fong Yoneda stuck out to you.                         What do you mean
 9     by that?
10                  A.     Just -- I was looking for people
11     that were associated with PitchFests, and I'm
12     like, well, that might have been the person.
13                  Q.     Okay.      Where did you come across
14     Kathie Fong Yoneda's name?
15                  A.     I don't recall specifically, but
16     it was somewhere on the Internet associated
17     with PitchFests.
18                  Q.     Okay.      What about her made you
19     believe that that might have been the person?
20                  A.     Just the initial picture seemed
21     like it might have been the person I met with.
22                  Q.     Okay.      So the picture.              What
23     about -- well, actually, previously you said
24     that the woman that you met with that you
25     believe was associated with Disney, you never

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 1     got her name, correct?
 2                  A.     Correct.
 3                  Q.     Okay.      So you -- you don't
 4     actually have a name to cross-reference?
 5                  A.     Correct.
 6                  Q.     Okay.      So nothing about the name
 7     Kathie Fong Yoneda is what jumped out to you?
 8                  A.     Correct.
 9                  Q.     Okay.      What picture did you see of
10     Kathie Fong Yoneda?
11                  A.     I don't recall, but some kind of
12     something, and I think she's got a blog
13     associated with PitchFests and things.                        And I'm
14     like, my initial response was, that may have
15     been the person I met with.
16                  Q.     Okay.      I'm not disputing that she
17     attends PitchFests and that she has a blog or
18     anything like that.              What led you to believe
19     that she was a representative of The Walt
20     Disney Company?
21                  A.     All of her stuff she writes about.
22     She did a lot of work with Disney, apparently.
23                  Q.     Okay.      So something on her blog
24     referenced that at some point she had worked
25     with Disney, and the look of a photo you saw of

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 1     her seemed vaguely familiar?
 2                  A.      Correct.
 3                  Q.      Okay.       And so Kathie Fong Yoneda
 4     is Asian-Pacific Islander.
 5                  A.      Uh-huh.
 6                  Q.      Is that -- did the woman you met
 7     with look Pacific Islander?
 8                  A.      May -- well, so, again, she had
 9     dark hair and dark skin.
10                  Q.      Okay.       So going back to the rog
11     response, your response to rog number 8, you
12     then say, Antony states he met with a
13     representative of The Walt Disney Company --
14                  A.      Uh-huh.
15                  Q.      -- Marcello Robinson and a
16     colleague of his from Asylum Management Group,
17     to the best of his recollection, and other
18     representatives from participants with whom he
19     was able to schedule pitch meetings?
20                  A.      Yes.
21                  Q.      How many pitch meetings in total
22     do you recall?
23                  A.      There were several.
24                  Q.      Okay.
25                  A.      There were several.               We've got a

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 1     But it was a work I was working on at the time.
 2                  Q.     What written materials did you
 3     have with you relating to Artie?
 4                  A.     Nothing.
 5                  Q.     Okay.      What written materials did
 6     you have with you relating to Zyborg?
 7                  A.     The screenplay.
 8                  Q.     And was that typewritten?
 9                  A.     Correct.
10                  Q.     What materials did you have with
11     you relating to Zodiac Regiment Twelve?
12                  A.     The screenplay and bios.
13                  Q.     Were they typewritten?
14                  A.     Yes.
15                  Q.     How many copies did you bring with
16     you?
17                  A.     A bunch.         A duffle full.
18                  Q.     How many is a bunch?
19                  A.     Just a bunch.             It was heavy.
20                  Q.     More than 100?
21                  A.     20 of each, probably.
22                  Q.     And after giving the pitch on
23     Zodiac Regiment Twelve to Asylum Entertainment,
24     did you ask them whether they wanted to take a
25     copy of the screenplay?

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 1     meetings is the follow-up.                    And it says, After
 2     you pitch your story or screenplay, the
 3     producer or production company may or may not
 4     request to see a copy of your script.                        If they
 5     do request your script, proper protocol is to
 6     mail them a copy a few days after the event
 7     with a nice cover letter reminding them of your
 8     meeting and their request.
 9                         Do you recall any of the folks that
10     you pitched to specifically requesting to see a
11     copy of any of your scripts?
12                  A.     Asylum wanted Artie.
13                  Q.     Okay.      So other than the work on
14     Artie from Asylum Entertainment, do you recall
15     anyone else requesting to get a copy of your
16     scripts?
17                  A.     Disney took my scripts that day.
18                  Q.     Okay.      So other than that, and
19     we'll get to that, did anyone else request to
20     see a copy of your script?
21                  A.     I may have left copies with
22     people, but no one asked me for something after
23     the PitchFest if that's what we're --
24                  Q.     Okay.      So you're saying Disney was
25     the only one -- the unnamed person at Disney

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 1     was the only one who took a copy of your script
 2     themselves?
 3                         MS. COLE:          Objection to
 4     characterization.
 5                  A.     No.     I recall leaving them with
 6     other people.          I just can't identify who it
 7     was.
 8     BY MS. COX:
 9                  Q.     Okay.
10                  A.     I left them all over the place.                    I
11     didn't -- I don't recall having a script left
12     when I came home.
13                         MS. COX:         So the next document let
14     me mark as Exhibit 27.
15                         (Exhibit 27 was marked for
16                         identification.)
17                         MS. COLE:          Thank you.
18     BY MS. COX:
19                  Q.     So this is a handwritten note page
20     produced by you, ANT750?
21                  A.     Uh-huh.
22                  Q.     Is this your handwriting?
23                  A.     Yes.
24                  Q.     Okay.      At the bottom of the page
25     it says Expo Pitch Meetings.                      Is this the

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 1     document that you're referring to earlier about
 2     the page listing folks that you pitched to?
 3                  A.     I think so.
 4                  Q.     Okay.      So I'm taking you up about
 5     halfway through the page.                   It says Friday -- or
 6     Fry, dash, Asylum, and then it says 240.
 7                         Do you see that?
 8                  A.     Yes.
 9                  Q.     Okay.      Do you understand that to
10     be a reference to Asylum Entertainment?
11                  A.     Probably.
12                  Q.     Okay.      So then I'm going to take
13     you to Concept Entertainment -- or do you see,
14     I don't know, about three-quarters down the
15     page it says Concept --
16                  A.     Uh-huh.
17                  Q.     -- Saturday, 11:35 a.m.
18                         Do you see that?
19                  A.     Yes.
20                  Q.     Your understanding, that refers to
21     Concept Entertainment?
22                  A.     Likely.
23                  Q.     Okay.      Next, David Greathouse
24     Productions.          Do you see at the top of the page
25     there's -- it says 9:30, Bold Films; 9:45,

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 1     David Greathouse Productions?
 2                  A.      Yes.
 3                  Q.      Or Gatehouse.               I'm sorry.
 4                  A.      Yes.
 5                  Q.      Okay.       And then underneath that,
 6     11:15 is Landscape Entertainment?
 7                  A.      Yes.
 8                  Q.      And then again at 11:35 it says
 9     Concept.          I think that's a duplication of the
10     other reference to Concept, correct?
11                  A.      Likely.
12                  Q.      Okay.       So all together, we have
13     Asylum Entertainment, Concept Entertainment,
14     David Gatehouse Productions, Bold Films,
15     Landscape Entertainment.                     There's also -- on
16     Sunday, there's a reference to Catchphrase
17     Entertainment Sci-Fi.
18                          Do you see that?                  Sunday is about
19     a third down the page.
20                  A.      Yes.
21                  Q.      Okay.       And also on Sunday we have
22     John Baldecchi Productions, correct?
23                  A.      Yes.
24                  Q.      Okay.       So that is seven pitches,
25     correct?

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 1                  A.     It looks that way.
 2                  Q.     Okay.      There is no reference to
 3     The Walt Disney Company on this page, correct?
 4                  A.     Correct.
 5                  Q.     Okay.      This document, the
 6     handwritten notes, do you recall when you
 7     created this document?
 8                  A.     I don't, but my guess was as soon
 9     as I got my schedule.
10                         MS. COX:         Okay.        Handing a
11     document to be marked as Exhibit 28.
12                         (Exhibit 28 was marked for
13                         identification.)
14                         MS. COX:         And this is -- it's a
15     native file so we've produced it to pdf.                         So I
16     will tell you what it represents.
17                         MS. COLE:          Okay.
18                         MS. COX:         So -- sorry.        Go ahead.
19                         MS. COLE:          Does it correspond to a
20     Bates number document, a placeholder?
21                         MS. COX:         Yes.
22                         MS. COLE:          Can I have the Bates
23     number for it?           Is this 28?
24                         THE REPORTER:             Yes.
25                         MS. COX:         So --

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 1                         MS. COLE:       You don't have it on here.
 2     Just if you can provide it to us.
 3                         MS. COX:       No, I did.         I just lost
 4     my -- okay.         Here we go.         So the document that's
 5     been marked as Exhibit 28, it is a pdf printout of
 6     a native Excel file that is Donovan 62 --
 7     Donovan00000062, which is an Excel file.                      Because
 8     there's wide gaps in the cells, it's -- the
 9     formatting is a little bit awkward, but I'll walk
10     you through it.
11     BY MS. COX:
12                 Q.      So I'll represent to you that this
13     Excel file was produced by William Donovan.
14     He's one of the Screenwriting Expo former
15     owners.      The Excel is titled
16     2006.expo.antony.orders, and the document lists
17     online orders that were placed for the pitch
18     meetings.
19                         So on page 1 that you'll see here,
20     the -- you'll see time stamps that were all on
21     October 10th, 2006.            So that's about a week --
22     a little over a week before the PitchFest
23     started.         Then I'm going to have you flip
24     forward, so page 3, you can see that your name
25     is listed with the jantony@fuse.net email

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 1     address, and then your -- was that your address
 2     at the time, 1 Katherine Court?
 3                  A.     Uh-huh, correct.
 4     BY MS. COX:
 5                  Q.     Okay.      Then flipping forward more,
 6     if you go to page 5 -- so basically page 5, 6,
 7     and 7 are rows that should be read all
 8     together, but if we start with 5, you can see
 9     the same seven production companies, which
10     are listed on your handwritten sheet from
11     Exhibit 27, are written here.
12                  A.     Uh-huh.
13                  Q.     So you'll see at the top Asylum
14     Entertainment.
15                         Do you see that?
16                  A.     So page 5?
17                  Q.     Yeah.      I'm on page 5.
18                  A.     Uh-huh, yes.
19                  Q.     Okay.      And then Concept
20     Entertainment, correct?
21                  A.     Yes.
22                  Q.     David Greathouse Productions, John
23     Baldecchi Productions, Catchphrase
24     Entertainment, Bold Films, and Landscape
25     Entertainment.           And those are the same

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 1     production companies that are listed on your
 2     sheet titled Expo Pitch Meetings, correct?
 3                  A.     That looks accurate.
 4                  Q.     Okay.      And then if you turn to
 5     page 6 and 7, you can see the specific times
 6     here that are listed --
 7                  A.     Uh-huh.
 8                  Q.     -- line up with what you have on
 9     your sheet?
10                  A.     Uh-huh.
11                  Q.     So, you know, which time on
12     Friday, which times on Saturday, and which
13     times on Sunday.            Sunday is listed on page 7.
14                         Do you see that?
15                  A.     I do.
16                  Q.     Okay.      So we have two documents
17     here, one created by you, one from the
18     organizers of the PitchFest showing that you
19     paid for seven pitches with seven production
20     companies on Friday, Saturday, and Sunday?
21                  A.     Uh-huh.
22                  Q.     None of which involve The Walt
23     Disney Company?
24                  A.     Correct.
25                  Q.     Okay.      So when was it that you are

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 1     saying that you purchased a pitch to pitch to
 2     The Walt Disney Company?
 3                  A.     So, once again, once you go in
 4     there, Walt Disney was not available.                         Okay?
 5     And that's what they told me.                         And so I was
 6     very bummed out.            And they said, but keep
 7     checking back.           Okay?       So I kept checking back,
 8     checking back, checking back.                         And it was at
 9     least three or four times, and then finally it
10     was available, and I snatched it up.
11                  Q.     Okay.      And when you say, finally
12     it was available, what was available?
13                  A.     A pitch meeting with The Walt
14     Disney Company.
15                  Q.     At what time and what day?
16                  A.     I don't recall.               Oh, what time was
17     it scheduled?          Okay.       My recollection was
18     Saturday.
19                  Q.     And what time?
20                  A.     I don't recall the time.
21                  Q.     Was it in the morning?
22                  A.     I don't recall.
23                  Q.     Was it before or after you had
24     pitched other companies?
25                  A.     I don't recall.               It was a big -- a

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 1                  Q.     Okay.      What do you recall of how
 2     you pitched Zodiac Regiment Twelve when you
 3     spoke to the woman with dark hair?
 4                  A.     Again, just generally, 12 kids
 5     that get, you know, the powers of the Chinese
 6     Zodiac, something along those lines, or 12
 7     superpowers of Chinese Zodiac that kids get.
 8     And superhero team that is recruited from all
 9     around the world and big concept.                      I remember
10     just talking about a big concept.                      Everyone
11     wanted big concept, high concept stuff.
12                  Q.     What do you recall of what the
13     woman with the dark hair said to you when you
14     came up to her table?
15                  A.     She was dismissive and rude, in my
16     opinion, being from the Midwest.                      She said,
17     well, you know, there's a chicken in the
18     Chinese Zodiac, right?                 And I was like, well,
19     yeah.      Well, what are you going to have,
20     chicken man with chicken powers?                      And I said --
21     I was kind of taken aback.                    I was a little
22     irritated.         And I said, well, no.               He's like a
23     MacGyver and a James Bond together.                      He's
24     actually a very, very cool character.                        And
25     she's kind of (witness making sound), whatever.

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 1     She was very dismissive.                  I was disappointed in
 2     that part.
 3                  Q.     Are you saying she had a Midwest
 4     accent?
 5                  A.     I don't recall an accent.                 I had a
 6     Midwest accent probably.
 7                  Q.     Oh, you had a Midwest accent.
 8     Okay.      Did she say anything else in response to
 9     your pitch on either Zyborg or Zodiac Regiment
10     Twelve?
11                  A.     I said, well, I'll leave these
12     with you.         And she took them and she said,
13     well, we'll get back to you if there's any
14     interest.         But it wasn't like super like, yeah,
15     yeah, yeah.
16                  Q.     Did she say anything else other
17     than the comment about chicken powers and that
18     last comment?
19                  A.     Not much, no.             It was very quick.
20                  Q.     Okay.
21                  A.     She was very --
22                  Q.     Did it last less than five
23     minutes?
24                  A.     It was probably the five.                 I mean,
25     I tried to take the five minutes with everybody

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 1     I could.          But, I mean, that's a fast amount of
 2     time.      You don't get much time.
 3                  Q.      When you first got up to the
 4     table, since she didn't introduce herself and
 5     you didn't ever learn her name, what, if
 6     anything, was said before you started in on
 7     your pitch?
 8                  A.      I said, you know, hi.                Disney,
 9     right?       She's like -- kind of just nodded,
10     wasn't polite about it at all.                        And I said,
11     well, I'm excited to meet you kind of a thing.
12     And I said, well, you know, Zodiac Regiment
13     Twelve or Zodiac Kids, I went into it.
14                  Q.      Do you have any idea of what this
15     woman's role was with a -- The Walt Disney
16     Company or any other affiliate?
17                  A.      No.
18                  Q.      Do you have any idea what Walt
19     Disney Company affiliate she may have been
20     associated with?
21                  A.      No.
22                  Q.      Do you recall any other
23     distinguishing features or characteristics of
24     this person?
25                  A.      Business, dressed businessy,

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 1     businessy, but dismissive, patronizing.
 2                  Q.     Did she have a wedding ring on?
 3                  A.     Don't recall.
 4                  Q.     Okay.      So you don't actually have
 5     copies of any of the -- whatever version of the
 6     Zodiac Regiment screenplay and bios that you
 7     had at the time of the PitchFest, correct?
 8                  A.     Correct.
 9                  Q.     Okay.      And why is that?
10                  A.     Because I was tweaking it a little
11     bit afterwards as well.                  But it's materially
12     the same materials.
13                  Q.     Do you have the hard drive that
14     you were using to work on it at around that
15     time?
16                  A.     I think we overrode -- or I think
17     we produced the one that we had.                      So that's the
18     only one I have.
19                  Q.     But you don't have an electronic
20     or hard copy file of the character bios or the
21     script as it existed in October 2006?
22                  A.     I mean, the 2005 version, whatever
23     we produced, and whatever the final copy is --
24     you know, the final copy is very close to what
25     I produced.

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 1     the one list, but it wasn't comprehensive.                          If
 2     you're looking for more, I need the bios.
 3     Sorry.
 4                  Q.      Well, let me ask you this.                 Out of
 5     your 12 Zodiac characters for the kids on the
 6     Zodiac team, do you recall out of those 12 how
 7     many of the same countries appeared in the
 8     characters in the Zodiac Legacy Convergence?
 9                  A.      I mean, I think nearly all.
10                          THE WITNESS:           Thank you.
11                  A.      Okay.     So -- so Tommy's from
12     America.          Randy Daniels is from America.
13     Rooster's from Britain.                  Leah's from South
14     Africa.       Sandy O'Halleran's from Ireland,
15     connections in Northern Ireland, looks like.
16     Juanita Maria Diego is from Mexico.                         Fe Lion is
17     from India.          Francois Descartes is from France.
18     Braxton Blake is from Canada.                         Guthrie Hammond
19     is from Austria.             And then we've got Brazil and
20     New Zealand.
21                  Q.      So out of the 12, how many are the
22     same country?
23                  A.      I mean, I'd have to -- if we have
24     our -- there we go.              Okay.        And then, of
25     course, Lee Ching is, you know, from China.                           So

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 1     they've got Jasmine is Chinese.                       We got
 2     Steven -- their characters I'm naming now --
 3     he's USA.         We got Kim, she's USA.                I've got
 4     more than one person from the United States.
 5     So do they.         We can really splice this stuff
 6     up.     Duane, once again, who's South Africa.
 7     Liam, who's Ireland.               Roxanne, France.             Carlos
 8     is Mexico.         Now, he -- I don't think Carlos
 9     ends up having a Zodiac power of theirs.                          But
10     the country's the same.                  That's the ones they
11     have listed here.
12                         Let me see the Vanguard.                   Maxwell,
13     theirs, from China, again.                    Josie is from
14     Australia.         Ours is from New Zealand is what I
15     was saying, but Oceania.                  Malik is another one
16     of theirs from the United States.                       Nicky is
17     theirs from England.               Vincent is another of
18     theirs that's from the United States.                          Celine
19     is listed as unknown.                That's the snake
20     character of theirs.               And then Thiago is
21     Brazil, too.
22                  Q.     Would it be fair to say that ten
23     of the 12 countries that you chose for your
24     Zodiac characters also appear in the characters
25     in the Convergence?

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 1                  A.     Yeah, that's what it looks like,
 2     what we just read off.
 3                  Q.     You also talked about the
 4     similarities in the powers that were given to
 5     certain of the characters.                    Were there any
 6     other similar powers that you did not have a
 7     chance to discuss earlier?
 8                  A.     Well, so, for example, Fe Lion can
 9     paralyze her opponents and --
10                  Q.     Which animal character is she?
11                  A.     Fe Lion is the tiger character.
12                  Q.     Okay.      And then their story?
13                  A.     And their story -- and, again, she
14     has the ability to kind of manipulate people
15     with her ability to stare at people and stop
16     them.      And they use that with both Maxwell and
17     the snake character, I believe.
18                  Q.     Which one is Maxwell in their
19     story?
20                  A.     He is their -- he's the leader of
21     the Vanguard and the evil Zodiac, I guess.
22                  Q.     Is he one of the animals?
23                  A.     No.     He's their -- he's the adult
24     defense war contractor.                  Ours says defense
25     contractor.         He's their war contractor.

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 1                  A.     That should have been the only
 2     one.     But you can look at my final version and
 3     they should be very close.
 4                  Q.     Okay.      So you're saying the final
 5     version, the one from 2010, so four years
 6     later?
 7                  A.     That was -- yes.                  It was forwarded
 8     in 2010.
 9                  Q.     Okay.      So the version from 2010 is
10     called Zodiac Kids.              The version from 2005 is
11     called Zodiac Regiment Twelve.                         Which one are
12     you saying it's closer to?
13                  A.     I mean, we would have to look at
14     them side by side, but they're very similar.
15                  Q.     Well --
16                  A.     I would say they're materially the
17     same.
18                  Q.     Well, we can do that.                  So we have
19     Exhibit 30 here.            This is the version that you
20     copyrighted and that you have stated in a
21     signed declaration is the closest to what you
22     have that was submitted to folks at the
23     PitchFest.
24                  A.     Uh-huh.
25                  Q.     And if you turn to Exhibit 12,

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 1                           IN WITNESS WHEREOF, I have
 2     hereunto set my hand and seal of office at
 3     Dayton, Ohio, on this 16th day of September
 4     2022.
 5
 6
 7
 8       <%22259,Signature%>
       PATTI STACHLER, RMR, CRR
 9     NOTARY PUBLIC, STATE OF OHIO
       My commission expires 10-5-2023
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 2     John Antony (JOB NO. 5431307)
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